            Case 1:22-cr-00208-JEB Document 31 Filed 09/07/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              :       Case No. 22-CR-208 (JEB)
                                                      :
               v.                                     :
                                                      :
KASH LEE KELLY,                                       :
                                                      :
                        Defendant.                    :
___________________________________                   :


            GOVERNMENT’S MOTION TO CONTINUE THE PLEA HEARING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia respectfully submits this Motion to Continue the Plea Hearing for

approximately thirty (30) days in the above-captioned matter, currently scheduled for Thursday,

September 8, 2022. In support of this motion, the government relies on the following points and

authorities and any other such points and authorities as may be raised at any hearing on this matter:

       1)      The Court previously set the plea hearing in this matter for September 8, 2022, at

2:30 p.m.

       2)      Undersigned counsel for the government is currently in a federal jury trial before

the Honorable Randolph D. Moss. This jury trial is expected to last for another week or so.

Moreover, to date, the government has not received the signed plea paperwork from the defendant,

and it appears that additional time is needed to complete the plea paperwork. Undersigned counsel

for the government requests that the plea hearing be continued for approximately thirty (30) days

or whatever date is consistent with the Court’s calendar.

       3)      In addition, the government can also represent that any sentencing hearing in this

matter should take place after the Court has Ordered a new Presentence Report by the U.S.
             Case 1:22-cr-00208-JEB Document 31 Filed 09/07/22 Page 2 of 2




Probation Office for the District of Columbia in the normal due course for the preparation of such

a report.

        4)      If granted, the parties will reach out to the Court’s courtroom deputy to obtain the

available date(s) for the Court and parties.

        5)      Undersigned counsel for the government can represent that counsel for the

defendant does not oppose this motion and further advise the Court that the defendant agrees that

the Speedy Trial Clock, pursuant to the Speedy Trial Act 18 U.S. Code § 3161, should be tolled

until the next plea hearing in this matter.

        6)      Wherefore, the government requests the Court to continue this matter for

approximately thirty (30) days or whatever date is consistent with the Court’s calendar.



                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY

                                       By:      /s/ Emory V. Cole
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